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                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                     )
                                             )              NO. 3:00-00094
               v.                            )
                                             )              Judge Sharp
MICHAEL HODGE                                )

                    MOTION FOR EXTENSION OF TIME TO RESPOND

       The United States of America, by its attorneys David Rivera, United States Attorney for

the Middle District of Tennessee, and Brent A. Hannafan, Assistant United States Attorney,

hereby requests an extension of time to respond to defendant’s Motion requesting he be released

from prison due to poor health (the “Motion”). (Docket No. 184).

       Defendant filed the Motion in October 2013. This Court ordered in April 2014 that the

United States respond to it within 30 days. (Docket No. 204). The undersigned received a copy

of that order via the ECF e-mail system because the undersigned had appeared in this case after the

Motion was filed due to a supervised release violation of co-defendant Benjamin Eastland.

However, the undersigned believed that because defendant had been prosecuted in this case by

AUSA Phillips, and because AUSA Phillips was representing the United States in defendant’s

simultaneous Section 2255 civil proceeding in Case No. 3:13:-cv-00821, that AUSA Phillips was

aware of and would respond to the Motion.

       After receiving defendant’s subsequent motion filed on May 12, 2014, which stated the

United States had not responded pursuant to this Court’s April order, the undersigned determined

that AUSA Phillips had not received notice of the filing of the Motion or this Court’s order. She

had not received notice because 1) she was terminated on ECF as counsel on this case; and 2)

although the Notice listed both the civil and criminal case numbers on the caption, the Motion was



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